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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                      Western Division

 UNITED STATES OF AMERICA

 -vs-                                                                       Case No. 2:05cr20252-004D

 DANNY ADAMS
 _______________________________________

                    ORDER APPOINTING COUNSEL PURSUANT TO
                          THE CRIMINAL JUSTICE ACT

         This Court has determined that the above-named defendant is financially unable to obtain adequate

 representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

 the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

                                   APPOINTMENT OF COUNSEL

         •       Juni Ganguli, a member of the Criminal Justice Act Panel of this District, is re-appointed as
                 counsel for the defendant.

                                      TYPE OF APPOINTMENT

         •       Probation/Supervised Release Violation

         DONE and ORDERED in 167 North Main, Memphis, this __8th _______ day of January,
 2007.


                                                        _____________s/Diane K. Vescovo_________
                                                                    DIANE K. VESCOVO
                                                           UNITED STATES MAGISTRATE JUDGE

 Copies furnished to:

 United States Attorney
 United States Marshal
 Pretrial Services Office
 Assistant Federal Public Defender
 Intake
 DANNY ADAMS
